23 F.3d 404NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Michael Horace LONG, Defendant Appellant.
    No. 93-6614.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 21, 1994.Decided May 5, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Asheville.  Richard L. Voorhees, Chief District Judge.  (CR-90-227-A-3, CA-92-136-1)
      Michael Horace Long, appellant pro se.
      Jerry Wayne Miller, Office of the United States Attorney, Asheville, North Carolina, for appellee.
      W.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Long, Nos.  CR-90-227-A-3;  CA-92-136-1 (W.D.N.C. May 26, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  The motion for appointment of counsel is denied.
    
    AFFIRMED
    